Case: 1:18-cv-05369 Document #: 174 Filed: 07/07/20 Page 1 of 1 PageID #:4242

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Ubiquiti Networks, Inc.
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 7, 2020:


         MINUTE entry before the Honorable Gary Feinerman:By 7/13/2020, the parties
shall file an updated status report regarding Defendants' review of the 18 Files.Mailed
notice.(jlj, )




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